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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

CARDWARE INC.,

                     Plaintiff,
                                                  Civil Action No. 2:22-cv-00141
v.
                                                  JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD, and
SAMSUNG ELECTRONICS AMERICA,
INC.

                     Defendants.


     UNOPPOSED MOTION FOR EXTENSION OF TIME TO MOVE, ANSWER OR
          OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT AND
              WAIVER OF FOREIGN SERVICE REQUIREMENT

       Samsung Electronics Company, Ltd. and Samsung Electronics America, Inc., Defendants

herein, without waiving any defenses described or referred to in Rule 12 F.R.C.P., move the Court

to extend the time within which Defendants are required to move, answer or otherwise respond to

Plaintiff’s Complaint. In support of their Motion, Defendants state as follows:

       1.      On May 11, 2022, Plaintiff filed its Complaint alleging patent infringement against

Samsung Electronics Company, Ltd. and Samsung Electronics America, Inc.

       2.      On May 12, 2022, Defendant Samsung Electronics America, Inc. was served with

Plaintiff’s Complaint. Samsung Electronics Company, Ltd. has not yet been served.

       3.      Counsel for Defendants has agreed to waive service under the Hague Convention

for Samsung Electronics Company, Ltd., a foreign entity, in exchange for a 90 day extension of

time for all defendants to answer or otherwise plead by August 31, 2022.
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       4.      Defendants’ agreement with Plaintiff should not be construed as a waiver of any

other rights or defenses, including, for instance, Defendants’ right to file counterclaims,

affirmative defenses, or to otherwise challenge the validity of the subject patents.

       WHEREFORE, Defendants Samsung Electronics Company, Ltd. and Samsung Electronics

America, Inc., respectfully request that the time in which they are required to move, answer or

otherwise respond to Plaintiff’s Complaint for Patent Infringement be extended up to and including

August 31, 2022.



Dated: May 31, 2022                           Respectfully submitted,

                                                       /s/ Melissa R. Smith
                                                      Melissa R. Smith
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                                                      Attorney for Defendants
                                                      Samsung Electronics Company, Ltd., and
                                                      Samsung Electronics America, Inc.
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on this the 31st day of May, 2022.



                                                         /s/ Melissa R. Smith
                                                        Melissa R. Smith




                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for Defendants met and conferred with

counsel for Plaintiff. Counsel for Plaintiff indicated that it is unopposed to this motion.



                                                         /s/ Melissa R. Smith
                                                         Melissa R. Smith
